Case 4:09-cr-00043-SPF  Document 288-1
         Case 3:04-cv-00782-DRH        Filed33
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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF ILLINOIS

  ARTHUR M. HAWKINS,                                  )
                                                      )
          Petitioner-Defendant,                       )
                                                      )
  vs.                                                 )          No. 04-cv-782-DRH
                                                      )
  UNITED STATES OF AMERICA,                           )
                                                      )
          Respondent-Plaintiff.                       )

                                      JOINT STATUS REPORT

          Petitioner-Defendant Arthur M. Hawkins, by and through his attorneys, Susan G. James, and

  Respondent-Plaintiff United States of America, by and through its attorneys, A. Courtney Cox,

  United States Attorney for the Southern District of Illinois, and William E. Coonan, Assistant

  United States Attorney, respectfully file their joint status report in accordance with this Court’s

  Order of January 6, 2008 (Doc. No. 32).

          1.     The parties are in contact with each other and have been discussing the status of the

  case as well as the possibility of the filing of a substantial assistance motion pursuant to Rule 35 of

  the Federal Rules of Criminal Procedure.

          2.     Approximately two years ago, Mr. Hawkins started assisting on a matter in another

  district. The prosecutor from the other district has just been replaced. The new prosecutor will need

  additional time to consider the matter. The parties believe that a possibility exists that, depending

  on Mr. Hawkins’ assistance, that the motion before this Court may become moot.

          3.     The parties request ninety (90) days in which to attempt to gauge the time needed

  to resolve outstanding issues in this case. This is an ongoing investigation. On or before the 90 day

  period, the parties will report the status of the case to the Court with a hoped-for resolution of the

  case.
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         Wherefore, the parties respectfully file their status report.


  Respectfully submitted,

  ARTHUR M. HAWKINS                                     A. COURTNEY COX
  Petitioner-Defendant                                  United States Attorney
                                                        Southern District of Illinois


  /s/ Susan G. James (with consent) 1                   /s/ William E. Coonan
  SUSAN G. JAMES                                        WILLIAM E. COONAN
  Attorney at Law                                       Assistant United States Attorney
  600 South McDonough Street                            Nine Executive Drive
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  Of Counsel:

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          On January 20, 2008, at 4:52 p.m., Attorney Susan G. James, via Attorney Robert Joe
  McLean, gave her consent for AUSA Coonan to sign on her behalf.

                                                   2
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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF ILLINOIS

  ARTHUR M. HAWKINS,                                  )
                                                      )
         Petitioner-Defendant,                        )
                                                      )
  vs.                                                 )          No. 04-cv-782-DRH
                                                      )
  UNITED STATES OF AMERICA,                           )
                                                      )
         Respondent-Plaintiff.                        )


                                  CERTIFICATE OF SERVICE

          Pursuant to SDIL-LR 7.1(b) and E-Filing Rule 8, I hereby certify that on January 20, 2009,
  I electronically filed the foregoing JOINT STATUS REPORT with the Clerk of Court using the
  CM/ECF system which will send notification of such filings to the following individual:

         Susan G. James, Esq., Attorney for Petitioner: sgjamesandassoc@aol.com


                                                          Respectfully submitted,

                                                          A. COURTNEY COX
                                                          United States Attorney
                                                          Southern District of Illinois


                                                          /s/ William E. Coonan
                                                          WILLIAM E. COONAN
                                                          Assistant United States Attorney
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